Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 1 of 11 PageID 25




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

HUMBERTO GUTIERREZ and
GLORIA E. DIAZ,

                    Plaintiffs,

v.                                             Case No: 6:22-cv-816-PGB-LHP

GEMILANG SOLUTIONS, LLC,
HAYDE RODRIGUEZ and JUAN
RODRIGUEZ,

                    Defendants.
                                      /

                                      ORDER

      For a just and efficient resolution of this case, the parties are DIRECTED

to read and comply with the Middle District of Florida’s Local Rules. See Local Rule

1.01(a). While not exhaustive, this Order establishes deadlines for filings required

at the initial stages of an action.

      This Court makes an active effort to review each case to identify parties and

interested corporations in which the assigned District Judge or Magistrate Judge

may have an interest, and for other matters that might require consideration of

recusal. Compliant with Local Rule 3.03, within fourteen (14) days from the day

of this Order or, if a party joins this action subsequent to the entry of this Order,

from the date of a party’s first appearance, each party, pro se party, governmental

party, intervenor, non-party movant, and Rule 69 garnishee is DIRECTED to file

and serve a Certificate of Interested Persons and Corporate Disclosure Statement
Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 2 of 11 PageID 26




substantially in the form attached. 1 Each party has a continuing obligation to file

and serve an amended certificate within fourteen (14) days of discovering any

ground for amendment, for conflict of interest, for recusal, or for disqualification

of the judicial officer. See Local Rule 3.03.

           No later than fourteen (14) days from the date of this Order, counsel

 and any pro se party shall comply with Local Rule 1.07(c) and shall file and serve

 a certification as to whether the instant action should be designated as a similar

 or successive case pursuant to Local Rule 1.07. The parties shall utilize the

 attached form titled Notice of Pendency of Other Actions.

           The parties are DIRECTED to consult Local Rule 3.02 to determine

 whether this action requires a case management conference and case

 management report (CMR), or if it falls under one of the exceptions listed in Local

 Rule 3.02(d). If a CMR is required, utilization of the attached CMR form is

 mandatory. The CMR must be filed (1) within forty days after any defendant

 appears in an action originating in this court, (2) within forty days after the

 docketing of an action removed or transferred to this court, or (3) within seventy

 days after service on the United States attorney in an action against the United

 States, its agencies or employees. Judges may have a special CMR form for certain




       1 No party may seek discovery from any source before filing and serving a Certificate of
Interested Persons and Corporate Disclosure Statement. A motion, memorandum, response, or
other paper (including emergency motions) may be denied or stricken unless the filing party has
previously filed and served a Certificate of Interested Persons and Corporate Disclosure
Statement.
Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 3 of 11 PageID 27




types of cases listed in Local Rule 3.02(d). These forms can be found at

www.flmd.uscourts.gov under the Forms tab for each judge.

        DONE AND ORDERED in Chambers in Orlando, Florida, on May 2,

2022.




Copies to:
Counsel of Record
Any Unrepresented Parties
       Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 4 of 11 PageID 28

                                     UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                          ORLANDO DIVISION

                                        [Insert caption of the case]

                               Certificate of Interested Persons and
                                 Corporate Disclosure Statement

      I hereby disclose the following pursuant to this Court’s Order on Interested Persons and
Corporate Disclosure:

       1.    The name of each person, attorney, association of persons, firm, law firm, partnership,
and corporation that has or may have an interest in a party to this action or in the outcome of this action,
including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that
own 10% or more of a party’s stock, and all other identifiable legal entities related to a party:
                    [insert list]1

      2.      The name of every other entity whose publicly-traded stock, equity, or debt may be
substantially affected by the outcome of the proceedings:

                     [insert list]

      3.     The name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or if no creditors’
committee the 20 largest unsecured creditors):

                     [insert list]

       4.      The name of each victim (individual and corporate), including every person who may be
entitled to restitution:

                     [insert list]

       5.     Check one of the following:

   _____     a. I certify that I am unaware of any actual or potential conflict of interest involving the
District Judge and Magistrate Judge assigned to this case and will immediately notify the Court in
writing upon learning of any such conflict.
- or -
   _____     b. I certify that I am aware of a conflict or basis of recusal of the District Judge or
Magistrate Judge as follows:

                     [insert explanation]

       1A party should not routinely list the assigned District Judge or Magistrate Judge as an interested
person absent some non-judicial interest.
Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 5 of 11 PageID 29




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

HUMBERTO GUTIERREZ and
GLORIA E. DIAZ,

                   Plaintiffs,

v.                                            Case No: 6:22-cv-816-PGB-LHP

GEMILANG SOLUTIONS, LLC,
HAYDE RODRIGUEZ and JUAN
RODRIGUEZ,

            Defendants.
___________________________________

                   Notice of Pendency of Other Actions

      In accordance with Local Rule 1.07, I certify that the instant action:

         IS        related to pending or closed civil or criminal case(s) previously
                   filed in this Court, or any other Federal or State court, or
                   administrative agency as indicated below:




         IS NOT    related to any pending or closed civil or criminal case filed with
                   this Court, or any other Federal or State court, or administrative
                   agency.

      I further certify that I will serve a copy of this Notice of Pendency of Other
Actions upon each party no later than fourteen days after appearance of the party.

Dated:



Plaintiff(s) Counsel of Record                      Defendant(s) Counsel of Record
        or Pro Se Party                                  or Pro Se Party
  [Address and Telephone]                            [Address and Telephone]
Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 6 of 11 PageID 30



                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

HUMBERTO GUTIERREZ and
GLORIA E. DIAZ,

                    Plaintiffs,

v.                                             Case No: 6:22-cv-816-PGB-LHP

GEMILANG SOLUTIONS, LLC,
HAYDE RODRIGUEZ and JUAN
RODRIGUEZ,

            Defendants.
___________________________

                      Uniform Case Management Report

      The goal of this case management report is to “secure the just, speedy, and
inexpensive determination of” the action. See Fed. R. Civ. P. 1. Under Local Rule
3.02(a)(2), this case management report should be used in all civil cases except
those described in Local Rule 3.02(d). Individual judges may have additional case
management preferences that can be found under each judge’s name on the Court’s
website, flmd.uscourts.gov/judges/all.

1. Date and Attendees

     The parties may conduct the planning conference “in person, by telephone, or
     by comparable means[.]” See Local Rule 3.02(a)(1).

     The parties conducted the planning conference on enter date. Enter names
     attended the conference.

2. Deadlines and Dates

     The parties request these deadlines and dates:

     Action or Event                                                  Date

     Deadline for providing mandatory initial disclosures. See Fed.
                                                                    Enter a date.
     R. Civ. P. 26(a)(1).

     Deadline for moving to join a party, see Fed. R. Civ. P. 14, 19,
                                                                      Enter a date.
     and 20, or amend the pleadings, see Fed. R. Civ. P. 15(a).
 Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 7 of 11 PageID 31



    Plaintiff’s deadline for disclosing any expert report. See Fed. R. Enter a date.
    Civ. P. 26(a)(2).

    Defendant’s deadline for disclosing any expert report.             Enter a date.

    Deadline for disclosing any rebuttal expert report.                Enter a date.

    Deadline for completing discovery and filing any motion to
    compel discovery. See Fed. R. Civ. P. 37; Middle District Enter a date.
    Discovery (2021).

    Deadline for moving for class certification, if applicable. See Enter a date.
    Fed. R. Civ. P. 23(c).

    Deadline for filing any dispositive and Daubert motion. See
    Fed. R. Civ. P. 56. (Must be at least five months before Enter a date.
    requested trial date.)

    Deadline for participating in mediation. See Local Rules, ch. 4.
    Enter mediator’s name, address, and phone number.                  Enter a date.


    Date of the final pretrial meeting. See Local Rule 3.06(a).        Enter a date.

    Deadline for filing the joint final pretrial statement, any motion
    in limine, proposed jury instructions, and verdict form. See
                                                                       Enter a date.
    Local Rule 3.06(b). (Must be at least seven days before the final
    pretrial conference.)

    Date of the final pretrial conference. See Fed. R. Civ. P. 16(e);
                                                                      Enter a date.
    Local Rule 3.06(b).

    Month and year of the trial term.                                  Enter a date.

   The trial will last approximately enter number days and be

   ☐ jury.
   ☐ non-jury.

3. Description of the Action

   In a few sentences, describe the nature of the action and its complexity.
Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 8 of 11 PageID 32




4. Disclosure Statement

   ☐ The parties have filed their disclosure statement as required by Federal Rule
   of Civil Procedure 7.1 and Local Rule 3.03.

5. Related Action

   ☐ The parties acknowledge their continuing duty under Local Rule 1.07(c) to
   notify the judge of a related action pending in the Middle District or elsewhere
   by filing a “Notice of a Related Action.”

6. Consent to a Magistrate Judge

   “A United States magistrate judge in the Middle District can exercise the
   maximum authority and perform any duty permitted by the Constitution and
   other laws of the United States.” Local Rule 1.02(a). With the parties’ consent,
   a district judge can refer any civil matter to a magistrate judge for any or all
   proceedings, including a non-jury or jury trial. 28 U.S.C. § 636(c).

   The Court asks the parties and counsel to consider the benefits to the parties
   and the Court of consenting to proceed before a magistrate judge. Consent can
   provide the parties certainty and flexibility in scheduling. Consent is voluntary,
   and a party for any reason can decide not to consent and continue before the
   district judge without adverse consequences. See Fed. R. Civ. P. 73(b)(2).

   ☐ The parties do consent and file with this case management report a
   completed Form AO 85 “Notice, Consent, and Reference of a Civil Action to a
   Magistrate Judge,” which is available on the Court’s website under “Forms.”
   ☐ The parties do not consent.

7. Preliminary Pretrial Conference

   ☐ The parties do not request a preliminary pretrial conference before the Court
   enters a scheduling order.
   ☐ The parties do request a preliminary pretrial conference, and the parties
   want to discuss enter discussion points.


8. Discovery Practice
Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 9 of 11 PageID 33



   The parties should read the Middle District Discovery Handbook, available on
   the Court’s website at flmd.uscourts.gov/civil-discovery-handbook, to
   understand discovery practice in this District.

   ☐ The parties confirm they will comply with their duty to confer with the
   opposing party in a good faith effort to resolve any discovery dispute before
   filing a motion. See Local Rule 3.01(g); Middle District Discovery (2021) at §
   I.A.2.

9. Discovery Plan

   The parties submit the following discovery plan under Rule 26(f)(2):

   A.   The parties agree to the timing, form, or requirement for disclosures
        under Rule 26(a):

        ☐ Yes.
        ☐ No; instead, the parties agree to these changes: enter changes.

   B.   Discovery may be needed on these subjects: list the subjects.

   C.   Discovery should be conducted in phases:

        ☐ No.
        ☐ Yes; describe the suggested phases.

   D.   Are there issues about disclosure, discovery, or preservation of
        electronically stored information?

        ☐ No.
        ☐ Yes; describe the issue(s).

   E.   ☐ The parties have considered privilege and work-product issues,
        including whether to ask the Court to include any agreement in an order
        under Federal Rule of Evidence 502(d).



   F.   The parties stipulate to changes to the limitations on discovery imposed
        under the Federal Rules of Civil Procedure and Local Rule 3.04 or other
        limitations:
Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 10 of 11 PageID 34



        ☐ No.
        ☐ Yes; describe the stipulation.


10. Request for Special Handling

   ☐ The parties do not request special handling.
   ☐ The parties request special handling. Specifically, describe requested special
   handling.
   ☐ Enter party’s name unilaterally requests special handling. Specifically,
   describe requested special handling.

11. Certification of familiarity with the Local Rules

   ☐ The parties certify that they have read and are familiar with the Court’s Local
   Rules.

12. Signatures




Add name of party or counsel                 Add name of party or counsel
If counsel, add name of client               If counsel, add name of client
Add date of signature                        Add date of signature




Add name of party or counsel                 Add name of party or counsel
If counsel, add name of client               If counsel, add name of client
Add date of signature                        Add date of signature




Add name of party or counsel                 Add name of party or counsel
If counsel, add name of client               If counsel, add name of client
Add date of signature                        Add date of signature
        Case 6:22-cv-00816-PGB-LHP Document 4 Filed 05/02/22 Page 11 of 11 PageID 35
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Middle District of Florida

            HUMBERTO GUTIERREZ, et al.                                    )
                             Plaintiffs                                   )
                     v.                                                   )     Civil Action No.      6:22-cv-816-PGB-LHP
         GEMILANG SOLUTIONS, LLC, et al.                                  )
                            Defendants                                    )


     NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE

       Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to
conduct all proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment.
The judgment may then be appealed directly to the United States court of appeals like any other judgment of this
court. A magistrate judge may exercise this authority only if all parties voluntarily consent.

       You may consent to have your case referred to a magistrate judge, or you may withhold your consent
without adverse substantive consequences. The name of any party withholding consent will not be revealed to
any judge who may otherwise be involved with your case.

        Consent to a magistrate judge’s authority. The following parties consent to have a United States
magistrate judge conduct all proceedings in this case including trial, the entry of final judgment, and all post-
trial proceedings.

           Parties’ printed names                              Signatures of parties or attorneys                        Dates




                                                             Reference Order
       IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings
and order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.

Date:
                                                                                            District Judge’s signature




                                                                                             Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a
United States magistrate judge. Do not return this form to a judge.
